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                                                         United States District Court
                                                        Western District of Washington




        STATE OF WASHINGTON, et al.                                              Case Number: 2:18-cv-01115-RSL

         WůĂŝŶƟī;ƐͿ                                                              APPLICATION FOR LEAVE TO APPEAR
                                                                                 PRO HAC VICE
         V.

        UNITED STATES DEPARTMENT OF
        STATE, et al.

         ĞĨĞŶĚĂŶƚ;ƐͿ

       WƵƌƐƵĂŶƚƚŽ>Zϴϯ͘ϭ;ĚͿŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐŝƐƚƌŝĐƚŽƵƌƚĨŽƌƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨtĂƐŚŝŶŐƚŽŶ͕
         Justin J. Sullivan
                                                  ŚĞƌĞďǇĂƉƉůŝĞƐĨŽƌƉĞƌŵŝƐƐŝŽŶƚŽĂƉƉĞĂƌĂŶĚƉĂƌƟĐŝƉĂƚĞĂƐ
       ĐŽƵŶƐĞůŝŶƚŚĞĂďŽǀĞĞŶƟƚůĞĚĂĐƟŽŶŽŶďĞŚĂůĨŽĨƚŚĞĨŽůůŽǁŝŶŐƉĂƌƚǇŽƌƉĂƌƟĞƐ͗
         State of Rhode Island


       dŚĞƉĂƌƟĐƵůĂƌŶĞĞĚĨŽƌŵǇĂƉƉĞĂƌĂŶĐĞĂŶĚƉĂƌƟĐŝƉĂƟŽŶŝƐ͗

         To represent the State of Rhode Island




       /͕ Justin J. Sullivan                                          ƵŶĚĞƌƐƚĂŶĚƚŚĂƚ/ĂŵĐŚĂƌŐĞĚǁŝƚŚŬŶŽǁŝŶŐĂŶĚĐŽŵƉůǇŝŶŐǁŝƚŚ
       all applicable local rules;

       /ŚĂǀĞŶŽƚďĞĞŶĚŝƐďĂƌƌĞĚŽƌĨŽƌŵĂůůǇĐĞŶƐƵƌĞĚďǇĂĐŽƵƌƚŽĨƌĞĐŽƌĚŽƌďǇĂƐƚĂƚĞďĂƌĂƐƐŽĐŝĂƟŽŶ͖ĂŶĚƚŚĞƌĞĂƌĞ
       not disciplinary proceedings against me.

       I declare under penalty of perjury that the foregoing is true and correct.


               01/08/2019
       Date:                                                          Signature of Applicant: s/ Justin J. Sullivan



ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 1 of 3
                            Case 2:18-cv-01115-RSL Document 160 Filed 01/09/19 Page 2 of 3



     WƌŽ,ĂĐsŝĐĞƩŽƌŶĞǇ
                                               Justin J. Sullivan
     Applicant's Name:
                                               Rhode Island Department of Attorney General
     >Ăǁ&ŝƌŵEĂŵĞ͗
                                               150 South Main
     Street Address 1:

     Address Line 2:
              Providence                                                                              02903
     City:                                                                State: RI            Zip:
                                     (401) 274-4400                                           9770
     WŚŽŶĞEƵŵďĞƌǁͬƌĞĂŽĚĞ                                                    Bar #                   State RI
     Primary E-mail Address: jjsullivan@riag.ri.gov
     ;WƌŝŵĂƌǇͲDĂŝůĂĚĚƌĞƐƐŵƵƐƚďĞĨŽƌƚŚĞWƌŽ,ĂĐĂƩŽƌŶĞǇĂŶĚŶŽƚĂŶǇƐƵďŽƌĚŝŶĂƚĞŽƌƐƚĂīŵĞŵďĞƌͿ
                                            mdifonzo@riag.ri.gov
     Secondary E-mail Address:



                                                    STATEMENT OF LOCAL COUNSEL

     /ĂŵĂƵƚŚŽƌŝǌĞĚĂŶĚǁŝůůďĞƉƌĞƉĂƌĞĚƚŽŚĂŶĚůĞƚŚŝƐŵĂƩĞƌ͕ŝŶĐůƵĚŝŶŐƚƌŝĂů͕ŝŶƚŚĞĞǀĞŶƚƚŚĞ
     applicant Justin J. Sullivan                                       is unable to be present upon any date
     assigned by the court.
               01/09/2019
     Date:                                      Signature of Local Counsel: s/ Jeffrey G. Rupert
                                               Jeffrey G. Rupert
     Local Counsel's Name:
                                               Washington Attorney General's Office
     >Ăǁ&ŝƌŵEĂŵĞ͗
                                               800 Fifth Avenue, Suite 2000
     Street Address 1:

     Address Line 2:
              Seattle                                                              WA                 98104
     City:                                                                State:               Zip:
                                                  (206) 389-2116                              45037
     WŚŽŶĞEƵŵďĞƌǁͬƌĞĂŽĚĞ                                                    Bar #




ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 2 of 3
                              Case 2:18-cv-01115-RSL Document 160 Filed 01/09/19 Page 3 of 3




                                                  ůĞĐƚƌŽŶŝĐĂƐĞ&ŝůŝŶŐŐƌĞĞŵĞŶƚ




            ǇƐƵďŵŝƫŶŐƚŚŝƐĨŽƌŵ͕ƚŚĞƵŶĚĞƌƐŝŐŶĞĚƵŶĚĞƌƐƚĂŶĚƐĂŶĚĂŐƌĞĞƐƚŽƚŚĞĨŽůůŽǁŝŶŐ͗

       1. dŚĞDͬ&ƐǇƐƚĞŵŝƐƚŽďĞƵƐĞĚĨŽƌĮůŝŶŐĂŶĚƌĞǀŝĞǁŝŶŐĞůĞĐƚƌŽŶŝĐĚŽĐƵŵĞŶƚƐ͕ĚŽĐŬĞƚƐŚĞĞƚƐ͕ĂŶĚŶŽƟĐĞƐ͘

       2. dŚĞƉĂƐƐǁŽƌĚŝƐƐƵĞĚƚŽǇŽƵďǇƚŚĞĐŽƵƌƚ͕ĐŽŵďŝŶĞĚǁŝƚŚǇŽƵƌůŽŐŝŶ͕ƐĞƌǀĞƐĂƐǇŽƵƌƐŝŐŶĂƚƵƌĞƵŶĚĞƌ&ĞĚĞƌĂů
          ZƵůĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞϭϭ͘dŚĞƌĞĨŽƌĞ͕ǇŽƵĂƌĞƌĞƐƉŽŶƐŝďůĞĨŽƌƉƌŽƚĞĐƟŶŐĂŶĚƐĞĐƵƌŝŶŐƚŚŝƐƉĂƐƐǁŽƌĚ
          against unauthorized use.

       3. /ĨǇŽƵŚĂǀĞĂŶǇƌĞĂƐŽŶƚŽƐƵƐƉĞĐƚƚŚĂƚǇŽƵƌƉĂƐƐǁŽƌĚŚĂƐďĞĞŶĐŽŵƉƌŽŵŝƐĞĚŝŶĂŶǇǁĂǇ͕ǇŽƵĂƌĞ
          ƌĞƐƉŽŶƐŝďůĞĨŽƌŝŵŵĞĚŝĂƚĞůǇŶŽƟĨǇŝŶŐƚŚĞĐŽƵƌƚ͘DĞŵďĞƌƐŽĨƚŚĞĐŽƵƌƚΖƐƐǇƐƚĞŵƐƐƚĂīǁŝůůĂƐƐĞƐƐƚŚĞƌŝƐŬ
          and advise you accordingly.

       4. ǇƐŝŐŶŝŶŐƚŚŝƐZĞŐŝƐƚƌĂƟŽŶ&Žƌŵ͕ǇŽƵĐŽŶƐĞŶƚƚŽƌĞĐĞŝǀĞŶŽƟĐĞĞůĞĐƚƌŽŶŝĐĂůůǇ͕ĂŶĚƚŽǁĂŝǀĞǇŽƵƌƌŝŐŚƚƚŽ
          ƌĞĐĞŝǀĞŶŽƟĐĞďǇƉĞƌƐŽŶĂůƐĞƌǀŝĐĞŽƌĮƌƐƚĐůĂƐƐŵĂŝůƉƵƌƐƵĂŶƚƚŽ&ĞĚĞƌĂůZƵůĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞϱ;ďͿ;ϮͿ;Ϳ͕
          ĞǆĐĞƉƚǁŝƚŚƌĞŐĂƌĚƚŽƐĞƌǀŝĐĞŽĨĂĐŽŵƉůĂŝŶƚĂŶĚƐƵŵŵŽŶƐ͘dŚŝƐƉƌŽǀŝƐŝŽŶĚŽĞƐŝŶĐůƵĚĞĞůĞĐƚƌŽŶŝĐŶŽƟĐĞŽĨ
          the entry of an order or judgment.

       ϱ͘ zŽƵǁŝůůĐŽŶƟŶƵĞƚŽĂĐĐĞƐƐĐŽƵƌƚŝŶĨŽƌŵĂƟŽŶǀŝĂƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨtĂƐŚŝŶŐƚŽŶΖƐŝŶƚĞƌŶĞƚƐŝƚĞŽƌ
           ƚŚƌŽƵŐŚƚŚĞWƵďůŝĐĐĐĞƐƐƚŽŽƵƌƚůĞĐƚƌŽŶŝĐZĞĐŽƌĚƐ;WZͿƐǇƐƚĞŵ͘zŽƵǁŝůůĐŽŶƟŶƵĞƚŽŶĞĞĚĂWZ
           ůŽŐŝŶ͕ŝŶĂĚĚŝƟŽŶƚŽƚŚĞĐŽƵƌƚͲŝƐƐƵĞĚƉĂƐƐǁŽƌĚ͘zŽƵĐĂŶƌĞŐŝƐƚĞƌĨŽƌWZĂƚƚŚĞŝƌǁĞďƐŝƚĞ͗ŚƩƉ͗ͬͬƉĂĐĞƌ͘
           psc.uscourts.gov.

       6. ǇƚŚŝƐƌĞŐŝƐƚƌĂƟŽŶ͕ƚŚĞƵŶĚĞƌƐŝŐŶĞĚĂŐƌĞĞƐƚŽĂďŝĚĞďǇƚŚĞƌƵůĞƐĂŶĚƌĞŐƵůĂƟŽŶƐŝŶƚŚĞŵŽƐƚƌĞĐĞŶƚ
          'ĞŶĞƌĂůKƌĚĞƌ͕ƚŚĞůĞĐƚƌŽŶŝĐ&ŝůŝŶŐWƌŽĐĞĚƵƌĞƐĚĞǀĞůŽƉĞĚďǇƚŚĞůĞƌŬΖƐKĸĐĞ͕ĂŶĚĂŶǇĐŚĂŶŐĞƐŽƌ
          ĂĚĚŝƟŽŶƐƚŚĂƚŵĂǇďĞŵĂĚĞƚŽƐƵĐŚĂĚŵŝŶŝƐƚƌĂƟǀĞƉƌŽĐĞĚƵƌĞƐŝŶƚŚĞĨƵƚƵƌĞ͘

                               01/08/2019                                 Justin J. Sullivan
             Date Signed                                 Signature s/
                                                                          ;WƌŽ,ĂĐsŝĐĞĂƉƉůŝĐĂŶƚŶĂŵĞͿ




ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 3 of 3
